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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


MAIKER ALEJANDRO ESPINOZA
ESCALONA, et al.,

              Plaintiffs,

       v.                                        Civil Action No. 1:25-cv-00604-CJN

KRISTI NOEM, Secretary of the U.S.
Department of Homeland Security, et al.,

              Defendants.


                                  [PROPOSED] ORDER

       UPON CONSIDERATION of Defendants’ motion to dismiss, and the entire record herein,

it is hereby ORDERED that Defendants’ motion is GRANTED and it is further ORDERED that

this action is DISMISSED.



SO ORDERED:



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Date                                            CARL J. NICHOLS
                                                United States District Judge
